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                    EXHIBIT B
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     The confluence of the emergence of the influ-          the appropriate prescription of opioids insufficient (41).
ence of pharma and the death of evidence-based              In 2010, the International Association for the Study of
medicine originated with the Sackler brothers (31-35).      Pain (IASP) contributed a patients’ rights component to
The Sackler brothers, three psychiatrists, purchased        the ongoing pain movement declaring patient’s entitle-
Purdue Frederick Pharma in 1952 with an initial focus       ment to access pain management treatments, including
on laxatives and earwax. The company shifted its fo-        opioids (41). The Veterans Affairs (VA) medical system,
cus to pain management and released MS Contin in            the Joint Commission (JCAHO), the American Medical
1984. Subsequently, in 1996, OxyContin was released.        Association (AMA), the American Academy of Fam-
Dr. Arthur Sackler, who died in 1987, had become a          ily Physicians (AAFP), a number of pain organizations
wealthy pharmaceutical marketing executive, publisher       funded by Purdue Pharma, and many patient advocacy
of medical trade publications, and father of direct to      groups gathered in support of pain as the fifth vital sign
physician marketing (31,35-37). Arthur Sackler started      (42-45). The fifth vital sign was eventually withdrawn in
MD Publications in the 1960s and promoted diazepam          2016 after its contributions to the opioid epidemic were
and chlordiazepoxide (Librium®), which led to over 100      recognized (43,45). JCAHO continues to establish new
million prescriptions per year by 1973. He infamously       measures that are similar to pain as the fifth vital sign. In
paid $300,000.00 to recruit Henry Welch, MD from the        addition, multiple organizations advocating opioids for
FDA to promote MD Publications.                             pain management successfully lobbied the US Congress
     OxyContin was falsely marketed as an opioid with       to declare a decade of pain control and research in 2000
low addiction potential based on a 1980 New England         (41). Another crucial event was the official implementa-
Journal of Medicine letter to the editor that claimed       tion of pharma-developed opioid prescription policies
that under 1% of patients discharged on narcotics from      in 2002 through the University of Wisconsin, Madison
the author’s hospital developed addiction (38). Lavish      Pain Policy Study Group (PPSG), which received $2.5
trips and stipends for marketing influenced physicians      million in grants from the industry with Purdue Pharma
to prescribe OxyContin. In addition, Purdue Pharmaceu-      alone contributing $1.6 million (31,46). The Federation
tical employed a large aggressive sales force, offered      of State Medical Boards (FSMB) adapted the PPSG 2002
a free 30-day supply of OxyContin, and promoted the         policies to produce a document entitled “Update and
theory of pseudo-addiction suggesting that more medi-       clarify state medical board policies on the use of opioid
cation is required as patients hurt more (35-38). With      analgesics to treat pain” sent to medical licensure boards
the support of multiple pain organizations, the Joint       (47). This report and policy model essentially unleashed
Commission on Accreditation of Healthcare Organiza-         opioid prescription patterns to ensure that physicians
tions (JCAHO), the Veterans Health Administration           could not be sanctioned based on the dose or frequency
(VHA), and other proactive groups, prescription of Oxy-     of opioids prescribed for legitimate medical purposes as
Contin and other opioids exploded (35-52).                  defined in the liberated 1970 Narcotics Control Act. This
                                                            report has since become a cornerstone (no dose thresh-
The Pain Movement with Confluence of                        old) of pill mills during the explosion of the prescription
Interest                                                    opioid epidemic. Purdue Pharma provided $100,000
     Houde, Foley, and Portenoy led the way for opioid      for the printing of 300,000 widely distributed copies of
explosion through their academic stature and leadership     the FSMB model guidelines, which had been based on
positions in the American Pain Society (APS) (31, 39,53).   a single observational study by Portenoy in addition to
Portenoy and Foley advocated that opioid maintenance        expert opinions (39,40). The guidelines were developed
therapy for chronic non-cancer pain was safe and hu-        not only with extensive bias and conflicts of interest
mane based on a report of 38 cases (39). The APS held       but also in the absence of high-quality scientific studies
the mantle as the advocacy group for opioid treatment       (48). Figure 7 shows organizational contributions made
of pain. It received much of its support from Purdue        by opioid manufacturers from 2012 to March 2017 (55).
Pharma. It also promoted opioids as a management            Earlier contributions were published in 2012 (56).
option in chronic low back pain publications (54). The
APS advocated the establishment of pain as the “fifth
                                                            DRASTIC FAILURES          IN   OVERSIGHT
vital sign” in 1995. The APS and American Academy               Over the years, drastic failures have occurred in
of Pain Medicine (AAPM) published a consensus state-        oversight of not only opioid manufacturing, distri-
ment in 1997 declaring evidence of addiction due to         bution, diversion, and import but also the medical



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                               Reframing the Prevention Strategies of the Opioid Crisis



(68). United States drug companies took measures to         from prescription opioids. A sharp increase in overdose
curtail fentanyl overproduction. Around this time,          deaths occurred in 2011 in part because of the increas-
China began to produce large quantities of fentanyl         ing illicit use of fentanyl, an inexpensive but potent
and develop fentanyl derivatives sold to heroin produc-     synthetic opioid that was often mixed with or sold as
ers in Mexico and drug users in the United States (31).     heroin. Once medical examiners began to routinely test
In addition, carfentanil, an elephant tranquilizer 100      heroin overdose victims for the presence of fentanyl in
times more potent than fentanyl -- essentially 8,000        2013, an alarming trend in the identification of fentanyl
times more potent than heroin -- led to overdoses in        as a cause of overdose deaths appeared. Data in 2016
Ohio, New York, Pennsylvania, Florida, and neighbor-        indicated deaths from fentanyl reached 20,000, thus
ing states (69,70).                                         surpassing deaths from prescription opioids and heroin.
     Table 3 outlines the many factors that contributed           According to Josh Bloom of the American Council
to the opioid crisis, throughout which multiple states      on Science and Health, nonmedical use of OxyContin
have sued drug companies and reached large settle-          started declining after the introduction of reformu-
ments and awards.                                           lated Oxycodone ER in 2010, pushing patients to heroin
     In recent years, prescription opioid usage has         as shown in Fig. 10. Figure 10B shows escalating deaths
decreased with the development of a multitude of            due to heroin overdose following 2010. Further, Fig. 11
federal, state, and local regulations. Regulations lim-     compares national overdose deaths from prescription
iting opioid prescriptions for acute pain to 3-to-10        opioid pain relievers (Fig. 11A), which stayed stable
days courses have somewhat reduced the supply of            with slight increases as heroin deaths escalated as
prescription opioids available for non-medical use. CDC     shown in Fig. 11B (66).
guidelines have included dose recommendations for                 Figures 1 and 5 show the quantification of opioid
prescribing opioids in primary care. In many jurisdic-      death rates from 2001–2016. From 2001–2009, prescrip-
tions, these guidelines have become regulations across      tion opioid deaths increased by 159%, and deaths due
specialties, including chronic pain management. The         to synthetic opioids other than methadone increased
combined prescription of opioids and benzodiazepines        233%. The rise in deaths from prescription opioids was
has also declined following an FDA black box warning        slower from 2009 to 2016, over which prescription opi-
in 2016 (70).                                               oid deaths increased 18% overall at an annual rate of
                                                            3%. By contrast, from 2013 to 2016, synthetic opioids
DISCORDANCE: CURBING THE EPIDEMIC                OR
                                                            other than methadone increased 520% overall, 87.7%
DENYING THE TREATMENT?
                                                            annually, fentanyl deaths topping in 2016 with over
     Here, we present divergent views on the opioid         20,000 deaths (71-74).
epidemic and the rise of heroin in conjunction with               Figures 12-14 show that alongside the rise in drug-
fentanyl.                                                   related deaths from 2009-2016 occurred a decrease in
     According to Andrew Kolodny, founder of Physi-         the utilization of multiple lumbar interventional tech-
cians for Responsible Opioid Prescribing (PROP), most       niques, including epidurals, percutaneous adhesiolysis,
opioid overdose deaths had involved prescription            and lumbar facet joint nerve blocks. This decrease oc-
opioids until 2011. Then, as prescription overdose          curred despite the promotion of interventional pain
deaths leveled off, deaths involving heroin began to        procedures by multiple agencies and despite the avail-
soar. Kolodny considers the belief that a 2011 federal      ability of data from high quality randomized controlled
government crackdown on painkillers was responsible         trials that had undergone systematic reviews and cost-
for many prescription drug abusers’ switch to heroin a      utility analysis (75-108).
common misconception. Though a slowdown in opioid
prescription may have occurred around 2011, oxyco-
                                                            REFRAMING      THE   PREVENTION STRATEGIES
done consumption has remained higher on a milligram              Over the past two decades, the American Society of
per capita scale in the United States than in other         Interventional Pain Physicians (ASIPP) has offered exten-
developed countries, as shown in Figure 9. Lack of phy-     sive pain management continuing education resources
sician discipline in avoiding over-prescription played      and received recognition by Congress and the Admin-
a significant role, but it was ease of access that had      istration as a political action committee. ASIPP began
already influenced the vast majority of people who’d        issuing warnings and offering preventive measures in
started using heroin after 1995 to make the switch          early 2000 with its proposal of a national program – the



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Table 3. Factors promoting escalation of opioid use in United States.
                                                    Drug Manufacturing and Distribution
 • Corporate greed
 • Lax regulations by FDA
 • Removal of DEA authority by Marino Act
 • Approval of OxyContin and Zohydro
 • Supply chain without checks and balances
 • Increased levels of production
 • Direct to physician marketing
 • False marketing claims about addiction to new, longer acting opioids
 • False marketing claims of safety and efficacy of abuse resistant opioids
 • Misrepresentation of the evidence of efficacy and lack of addiction
                                          Liberalization (DEA, FDA, Licensure boards, Legislature)
 • Controlled Substance Act essentially nullifying 1914 Harrison Narcotic Tax Act
 • Approval of OxyContin and Zohydro
 • Call for improved approaches to assure the availability of opioids by 21 health care organizations and supported by the DEA in 2001
 • Federation of State Medical Boards (FSMB) recommendations to states with no disciplinary action against practitioner based solely on the
   quantity and/or frequency of the opioids prescribed: no dosing threshold
 • Efforts by physician groups to better manage chronic pain
 • Promotion of pain as a fifth vital sign
 • Right to pain relief by IASP fifth vital sign by APS supported by AMA, AAFP, VA, JCAHO, AAAHC
 • Right to pain relief act by legislatures
 • Direct to physician marketing with poor science and misinformation
 • Passage of Ensuring Patient Access and Effective Drug Enforcement Act (HR-4709) in 2016 weakening and essentially eliminating the DEA
   enforcement activities against corrupt activities of drug distribution companies
                                                                   Poor Science
 • Non-addictive based on a letter to the editor published in the New England Journal of Medicine.
 • Portenoy’s observational study of 38 patients promoting opioids for chronic noncancer pain
 • Wisconsin Pain Policy Group developing the guidance without scientific evidence, promoted as state regulations
 • Invention and promotion of pseudoaddiction and breakthrough pain
 • Implementation of IMPAACT to promote positive opioid research
 • 1997 joint statement by APS and AAPM of opioid use as safe in managing chronic noncancer pain
 • Promotional material from drug industry considered as peer reviewed literature
 • Approval of OxyContin and Zohydro
 • False marketing claims of safety
 • Creation of “Opiophobics”
                             Physicians and Promotion of Literature Considered as Peer Reviewed Literature
 • Lack of physician education on the use of drugs with high abuse potentials
 • Literature provided by the Pharma without differentiation of peer-reviewed literature versus marketing
 • Direct to physician marketing
 • Shared decision making based on patient demands or doctor’s routine
 • To obtain improved satisfaction and revenues
 • Provider run pill mills




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      Data from patients treated for opioid use disor-                     function outcomes (24,113,114).
der collected between 2005 and 2016 (n = 5,885) show                       •    Ironically, as both reimbursements for and
that 8.7% identified heroin as their initial opioid of                          utilization of interventional procedures
use in 2005 compared to 33.3% (P < 0.001) in 2015. By                           have decreased since 2010, opioid deaths
contrast, reported use of hydrocodone and oxycodone                             have escalated (85–108). The direct inverse
dropped from approximately 42% to 24.1% and 27.8%                               relationship, between the performance
respectively in 2015 (73). Another study found an in-                           of interventional pain procedures and the
crease in the self-reported use of fentanyl – referred                          number of opioid deaths per year, is illus-
to as “unknown fentanyl products” – from 9% in 2014                             trated in figures 12-14.
to 15% in 2016 among the population entering drug                   6.     Expand low-threshold access to buprenorphine
treatment (n = 10,900) (74). Consequently, the number                      for opioid use disorder (3,5,115). It has been
of prescription opioid admissions has declined and il-                     shown that a substantial proportion of patients
licit fentanyl and heroin admissions has increased.                        who would benefit from buprenorphine treat-
                                                                           ment will receive this only if it becomes more
ASIPP 3-Tier Approach to Curb Opioid Abuse                                 attractive and more accessible than either pre-
     ASIPP aims to curb illicit fentanyl, heroin, and                      scription or illicit opioids (3).
prescription drug abuse while maintaining appropriate                      •    Opioid overdose deaths were shown to de-
access to and proper use of pain management modali-                             crease by 79% over a period of 6 years after
ties. Consequently, ASIPP has suggested more effective                          the initiation of widespread buprenorphine
legislation to curb opioid abuse, reducing deaths, while                        prescription in France (115). Expanding
promoting nonopioid modalities such as interventional                           low-threshold access will also pave the way
techniques (26,85-103). Following is the ASIPP three-                           toward making buprenorphine and its prod-
tier approach toward achieving this goal.                                       ucts available in the management of chronic
                                                                                pain (as described under tier 3).
Tier 1                                                              7.     Increase the capacity of each state’s PDMP to
  1.     Institute an aggressive public education cam-                     interact at a minimum with all bordering state
         paign with explicit teaching on the dangers                       PDMPs through the NASPER Act.
         of using illicit drugs, specifically heroin and            8.     Enforce mandated review of PDMP data prior to
         fentanyl.                                                         all opioid and benzodiazepine prescriptions.
  2.     Institute a public education campaign on opioid
         abuse in general with emphasis on the adverse            Tier 3
         consequences of the combined use of opioids                9.  Make buprenorphine available as an agent for
         and benzodiazepines.                                           chronic pain management as well as for medi-
         •    The diversity of public opinion, regarding                cation-assisted treatment. We propose changing
              which parties are most responsible for the                the controlled substance classification of bu-
              opioid crisis, is illustrated in Table 1 and Fig.         prenorphine from Schedule III to Schedule II to
              7 (11,29,30).                                             facilitate this.
  3.     Implement physician education that excludes                10. Remove methadone, responsible for over 3,000
         the involvement of industry. Make mandatory at                 deaths per year while comprising only 1% of
         least four hours of continuing education per year              total opioid prescriptions, from formulary as a
         for each prescriber of any amount of opioids or                listed preferred drug.
         benzodiazepines.
  4.     Implement mandatory patient education upon
                                                                  CONCLUSION
         the first prescription of any amount of opioid.               Americans are facing an opioid crisis of epidemic
                                                                  proportions. It is important to note the degree to
Tier 2                                                            which illicit fentanyl and heroin, as well as prescription
  5.     Reduce or eliminate copayments to make nono-             opioids, contribute to this crisis. This manuscript has
         pioid pain management techniques, including              discussed numerous factors that have led to this cur-
         physical therapy and interventional procedures,          rent state – the public’s perception of opioid use, the
         more accessible and improve patient pain and             evolution of the opioid epidemic over the past three



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centuries, the influence of greed-based advocacy on                           Acknowledgments
the pain movement, failures in the oversight of philan-                            The authors wish to thank Vidyasagar Pampati,
thropy, and the tragic failure of multiple systems that                       MSc, for statistical assistance, and Bert Fellows, MA,
are in place to protect the public due to a confluence of                     Director Emeritus of Psychological Services, for manu-
greed. These factors have contributed to misinforma-                          script review, and Tonie M. Hatton and Diane E. Neihoff,
tion in the development of guidelines and have precipi-                       transcriptionists, for their assistance in the preparation
tated ineffective measures by federal, state, and local                       of this manuscript. We would like to thank the editorial
authorities, governing the use of opioids. Understand-                        board of Pain Physician for its review and criticism in
ing the crisis is critical for providers and policymakers.                    improving the manuscript.
We have proposed a 3 tier approach toward tackling
this scourge.




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